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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION

DEVION WILLIAMS                                                                    PLAINTIFF


v.                                  Case No. 4:20-cv-4070


BNSF RAILWAY COMPANY and
UNION PACIFIC RAILRAOD COMPANY                                                  DEFENDANTS

                                         JUDGMENT

       Before the Court is Defendant BNSF Railway Company’s Motion for Summary Judgment.

(ECF No. 53). Plaintiff has filed a response to the motion. (ECF No. 56). Defendant has filed a

reply. (ECF No. 62). The Court finds the matter ripe for consideration.

       For the reasons discussed in the Memorandum Opinion of even date, the Court finds that

Defendant’s Motion for Summary Judgment (ECF No. 53) should be and hereby is GRANTED.

Plaintiff’s claims against BNSF Railway Company are DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED, this 3rd day of November, 2021.

                                                           /s/ Susan O. Hickey
                                                           Susan O. Hickey
                                                           Chief United States District Judge
